Case 18-30619-VFP            Doc 69    Filed 06/23/20 Entered 06/23/20 14:40:51                  Desc Main
                                       Document     Page 1 of 5




                             NOTICE OF OBJECTION TO CONFIRMATION

       CALIBER HOME LOANS, INC. has filed papers with the Court to object to the Confirmation of
the Chapter 13 Modified Plan.

        Your rights may be affected. You should read these papers carefully and discuss them with
your attorney, if you have one in this bankruptcy case. (If you do not have an attorney, you may wish
to consult one.)

        If you do not want the Court to object to the Confirmation of the Chapter 13 Modified Plan, or if
you want the Court to consider your views on the Objection, then on or before 07/09/2020, you or your
attorney must:

                1.       File with the Court an answer, explaining your position at:

                                                     Clerk
                                             U.S. Bankruptcy Court
                                           50 Walnut Street, 3rd Floor
                                               Newark, NJ 07102

If you mail your response to the Court for filing, you must mail it early enough so that the Court will receive
it on or before the date stated above.

                                        You must also mail a copy to:

Phelan Hallinan Diamond & Jones, PC                MARIE-ANN GREENBERG, Trustee
1617 JFK Boulevard, Suite 1400                     Chapter 13 Standing Trustee
Philadelphia, PA 19103                             30 TWO BRIDGES ROAD SUITE 330
                                                   FAIRFIELD, NJ 07004

                2.       Attend the hearing scheduled to be held on 07/16/2020 in the NEWARK
                         Bankruptcy Court, at the following address:

                                                          U.S. Bankruptcy Court
                                                        50 Walnut Street, 3rd Floor
                                                            Newark, NJ 07102

         If you or your attorney do not make these steps, the Court may decide that you do not oppose the
relief sought in the Objection and may enter an Order granting that relief.

Date: June 23, 2020
                                                  /s/ Melanie Grimes
                                                  Melanie Grimes, Esq.
                                                  Phelan Hallinan Diamond & Jones, PC
                                                  1617 JFK Boulevard, Suite 1400
                                                  Philadelphia, PA 19103
                                                  Tel: 856-813-5500 Ext. 46245
                                                  Fax: 856-813-5501
                                                  Email: Melanie.Grimes@phelanhallinan.com
Case 18-30619-VFP         Doc 69    Filed 06/23/20 Entered 06/23/20 14:40:51              Desc Main
                                    Document     Page 2 of 5




File No. 838641
Phelan Hallinan Diamond & Jones, PC
1617 JFK Boulevard
Philadelphia, PA 19103
856-813-5500
FAX Number 856-813-5501
CALIBER HOME LOANS, INC.

In Re:                                        UNITED STATES BANKRUPTCY COURT
         GARAN DICKSON                        FOR THE DISTRICT OF NEW JERSEY
                                              NEWARK VICINAGE

                                              Chapter 13
Debtor
                                              Case No. 18-30619 - VFP

                                             Hearing Date: 07/16/2020

         The undersigned, Phelan Hallinan Diamond & Jones, PC, attorneys for Secured Creditor,
CALIBER HOME LOANS, INC., the holder of a Mortgage on Debtor’s residence located at 88
HILLSIDE AVENUE, WEST ORANGE, NJ 07052-4507 hereby objects to the Confirmation of the
Debtor’s proposed Chapter 13 Modified Plan on the following grounds:


                1.     On December 13, 2018, Movant filed a Proof of Claim listing a total debt in

                       the amount of $418,112.57.

                2.     On October 3, 2019, Movant filed a Notice of Mortgage Payment Change,

                       reflecting a regular monthly mortgage payment amount of $3,723.88,

                       effective November 1, 2019.

                3.     Debtor’s Modified Plan provides that “[f]orbearance and regular payments to

                       be paid as billed after deferment period,” but does not state the specific

                       amount of regular monthly mortgage payments to be made directly to

                       Movant.
Case 18-30619-VFP         Doc 69    Filed 06/23/20 Entered 06/23/20 14:40:51            Desc Main
                                    Document     Page 3 of 5



              4.       Debtor’s Modified Plan fails to provide for the current on-going, post-

                       petition regular monthly mortgage payment amount. Movant objects to any

                       amount less than 100% of what is required under the terms of the loan

                       documents.

              5.       Debtor’s Modified Plan should be amended to indicate the correct post-

                       petition monthly payment amount owed to Movant or Confirmation should

                       be denied.



       WHEREFORE, CALIBER HOME LOANS, INC. respectfully requests that the
Confirmation of Debtor’s Modified Plan be denied.
                                             /s/ Melanie Grimes
                                             Melanie Grimes, Esq.
                                             Phelan Hallinan Diamond & Jones, PC
                                             1617 JFK Boulevard, Suite 1400
                                             Philadelphia, PA 19103
                                             Tel: 856-813-5500 Ext. 46245
                                             Fax: 856-813-5501
                                             Email: Melanie.Grimes@phelanhallinan.com

Dated: June 23, 2020
 Case 18-30619-VFP      Doc 69   Filed 06/23/20 Entered 06/23/20 14:40:51            Desc Main
                                 Document     Page 4 of 5




 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY
 Caption in Compliance with D.N.J. LBR 9004-1(b)

 838641
 Phelan Hallinan Diamond & Jones, PC
 1617 JFK Boulevard, Suite 1400
 Philadelphia, PA 19103
 856-813-5500
 Attorneys for CALIBER HOME LOANS, INC.
 In Re:                                                  Case No: 18-30619 - VFP

 Garan Dickson                                           Hearing Date: 07/16/2020

                                                         Judge: Vincent F. Papalia

                                                         Chapter: 13

                        CERTIFICATION OF SERVICE

    1.    I, Jason Seidman:

             represent the ______________________ in the above-captioned matter.

             am the secretary/paralegal for Phelan Hallinan Diamond & Jones, PC,
          who represents CALIBER HOME LOANS, INC. in the above captioned
          matter.

            am the _________________ in the above case and am representing
          myself.

    2.    On June 23, 2020 I sent a copy of the following pleadings and/or documents
          to the parties listed below:

          Objection to Plan

    3.    I hereby certify under penalty of perjury that the above documents were sent
          using the mode of service indicated.


Dated: June 23, 2020                           /s/ Jason Seidman
                                                   Jason Seidman
Case 18-30619-VFP              Doc 69   Filed 06/23/20 Entered 06/23/20 14:40:51                      Desc Main
                                        Document     Page 5 of 5


 Name and Address of Party Served                   Relationship of                      Mode of Service
                                                   Party to the Case
                                                                                Hand-delivered

                                                                                Regular mail

Garan Dickson                                                                   Certified mail/RR
88 Hillside Avenue, West Orange, NJ
                                          Debtor
07052-4507                                                                      E-mail

                                                                                Notice of Electronic Filing (NEF)

                                                                                Other__________________
                                                                              (as authorized by the court *)
                                                                                Hand-delivered

                                                                                Regular mail

                                                                                Certified mail/RR
Nicholas Fitzgerald, Esquire
                                          Debtor’s
649 Newark Avenue
                                          Attorney                              E-mail
Jersey City, NJ 07306
                                                                                Notice of Electronic Filing (NEF)

                                                                                Other__________________
                                                                              (as authorized by the court *)
                                                                                Hand-delivered

                                                                                Regular Mail
U.S. Trustee
                                                                                Certified mail/RR
US Dept of Justice
Office of the US Trustee                  Trustee
                                                                                E-mail
One Newark Center Ste 2100
Newark, NJ 07102
                                                                                Notice of Electronic Filing (NEF)

                                                                                Other__________________
                                                                              (as authorized by the court *)
                                                                                Hand-delivered

                                                                                Regular Mail

Marie-Ann Greenberg, Trustee                                                    Certified mail/RR
Chapter 13 Standing Trustee
                                          Trustee
30 Two Bridges Road Suite 330                                                   E-mail
Fairfield, NJ 07004
                                                                                Notice of Electronic Filing (NEF)

                                                                                 Other__________________
                                                                              (as authorized by the court *)
       * May account for service by fax or other means as authorized by the court through the issuance of an Order
       Shortening Time.




                                                         2
